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                                                     November 15, 2024

 VIA ECF

 Hon. Gary R. Brown, USDJ
 100 Federal Plaza
 Central Islip, NY 11717


       Re:   Barahona et al v Paradise Tree Service & Landscape, Corp et al, Case No. 21-
 cv-05400 (GRB)(AYS)


 Dear Judge Brown:

         We represent the Plaintiffs in the above-mentioned matter. We are writing to the court to
 indicate that we are available for Trial the dates mentioned by Mr. Nieto in his letter Docket
 Entry No.81. However, if it is convenient for the court, we are available any day in April.



                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                       Steven J. Moser

 CC:    All counsel of record via ECF




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